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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNILOC USA, INC., et 211.,

Plaintiffs,
V.

HTC AMERICA, INC.,

Defendant.

 

UNILOC USA, INC., et 211.,

P1aintiffs,
v.

HTC AMERICA, INC.,

Defendant.

 

 

 

 

MINUTE ORDER - 1

CASENO.C17-15581LR

MINUTE ORDER

CASE NO. C17-1561]LR

 

 

 

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Case 2:17-cV-01562-.]LR Document 25 Filed 03/01/18 Page 2 of 2

 

UNILOC USA, INC., et al., CASE NO. Cl7-1562JLR

Plaintiffs,
V.

HTC AMERICA, INC.,

Defendant.

 

 

The following minute order is made by the direction of the court, the Honorable
J ames L. Robart:

The above-captioned cases are hereby consolidated All future pleadings filed in

- this matter shall bear the case number Cl7-1558JLR.

Filed and entered this lst day of March, 2018.

WILLlAl\/l l\/l. MCCOOL
Clerk of Court

s/ Ashleigh Drecl<trah
Deputy Clerk

 

MINUTE ORDER - 2

 

 

 

